      Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 1 of 11


                                                                        APPEAL,JURY,TYPE−E
                                U.S. District Court
                     District of Columbia (Washington, DC)
               CIVIL DOCKET FOR CASE #: 1:20−cv−01365−JMC
                                 Internal Use Only

O'CONNELL v. UNITED STATES CONFERENCE OF                Date Filed: 05/21/2020
CATHOLIC BISHOPS                                        Jury Demand: Plaintiff
Assigned to: Judge Jia M. Cobb                          Nature of Suit: 370 Other Fraud
Demand: $5,000,000                                      Jurisdiction: Diversity
Case in other court: Rhode Island, 1:20−cv−00031
Cause: 28:1332 Diversity−Fraud
Plaintiff
DAVID O'CONNELL                           represented by Jonas Bram Jacobson
Peter N. Wasylyk                                         DOVEL & LUNER LLP
1307 Chalkstone Avenue                                   201 Santa Monica Boulevard
Providence, RI 02908                                     Suite 600
                                                         Santa Monica, CA 90401
                                                         310−656−7066
                                                         Email: jonas@dovel.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                        Marc R Stanley
                                                        STANLEY LAW GROUP
                                                        6116 North Central Expressway
                                                        Ste 1500
                                                        Dallas, TX 75206
                                                        214−443−4300
                                                        Fax: 214−443−0358
                                                        Email: marcstanley@mac.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Simon Carlo Franzini
                                                        DOVEL & LUNER LLP
                                                        201 Santa Monica Boulevard
                                                        Suite 600
                                                        Santa Monica, CA 90401
                                                        310−656−7066
                                                        Email: simon@dovel.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Martin Woodward
                                                        KITNER WOODWARD PLLC
                                                        13101 Preston Road

                                                                                             1
      Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 2 of 11


                                                           Suite 110
                                                           Dallas, TX 75240
                                                           214−443−4300
                                                           Fax: 214−443−4304
                                                           Email: martin@kitnerwoodward.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Yvette Golan
                                                           THE GOLAN FIRM PLLC
                                                           529 14th Street NW
                                                           Suite 914
                                                           Washington, DC 20045
                                                           713−206−8250
                                                           Email: ygolan@tgfirm.com
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
UNITED STATES CONFERENCE OF                 represented by Kevin Taylor Baine
CATHOLIC BISHOPS                                           WILLIAMS & CONNOLLY LLP
                                                           680 Maine Avenue, S.W.
                                                           Washington, DC 20024
                                                           202−434−5010
                                                           Email: kbaine@wc.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Emmet T. Flood
                                                           WILLIAMS & CONNOLLY
                                                           680 Maine Avenue SW
                                                           Washington, DC 20005
                                                           202−434−5300
                                                           Email: eflood@wc.com
                                                           ATTORNEY TO BE NOTICED

                                                           Richard Simon Cleary , Jr
                                                           WILLIAMS & CONNOLLY
                                                           680 Maine Avenue, S.W.
                                                           Washington, DC 20024
                                                           202−434−5240
                                                           Email: rcleary@wc.com
                                                           ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
01/22/2020   1   COMPLAINT ( filing fee paid $ 400.00, receipt number 0103−1466938 ), filed by
                 David O'Connell. (Attachments: # 1 Criminal Cover Sheet, # 2 Summons)(Wasylyk,
                 Peter) [Transferred from Rhode Island on 5/21/2020.] (Entered: 01/22/2020)


                                                                                                  2
     Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 3 of 11



01/22/2020        Case assigned to District Judge William E. Smith and Magistrate Judge Patricia A.
                  Sullivan. (Hicks, Alyson) [Transferred from Rhode Island on 5/21/2020.] (Entered:
                  01/22/2020)
01/22/2020    2   CASE OPENING NOTICE ISSUED (Hicks, Alyson) [Transferred from Rhode Island
                  on 5/21/2020.] (Entered: 01/22/2020)
01/22/2020    3   Summons Issued as to United States Conference of Catholic Bishops. (Hicks, Alyson)
                  [Transferred from Rhode Island on 5/21/2020.] (Entered: 01/22/2020)
01/29/2020    4   SUMMONS Returned Executed by David O'Connell. United States Conference of
                  Catholic Bishops served on 1/24/2020, answer due 2/14/2020. (Wasylyk, Peter)
                  [Transferred from Rhode Island on 5/21/2020.] (Entered: 01/29/2020)
02/13/2020    5   NOTICE of Appearance by Robert K. Taylor on behalf of United States Conference of
                  Catholic Bishops (Taylor, Robert) [Transferred from Rhode Island on 5/21/2020.]
                  (Entered: 02/13/2020)
02/13/2020    6   NOTICE of Appearance by Eugene G. Bernardo, II on behalf of United States
                  Conference of Catholic Bishops (Bernardo, Eugene) [Transferred from Rhode Island
                  on 5/21/2020.] (Entered: 02/13/2020)
02/13/2020    7   MOTION to Dismiss for Lack of Jurisdiction and Improper Venue filed by United
                  States Conference of Catholic Bishops. Responses due by 2/27/2020. (Attachments: #
                  1 Supporting Memorandum, # 2 Exhibit A (Ridderhoff Affidavit))(Taylor, Robert)
                  [Transferred from Rhode Island on 5/21/2020.] (Entered: 02/13/2020)
02/26/2020    8   Cross MOTION to Transfer Case and response to Motion to Dismiss filed by All
                  Plaintiffs. Responses due by 3/11/2020. (Attachments: # 1 Supporting
                  Memorandum)(Wasylyk, Peter) [Transferred from Rhode Island on 5/21/2020.]
                  (Entered: 02/26/2020)
03/09/2020    9   RESPONSE In Opposition to 8 Cross MOTION to Transfer Case and response to
                  Motion to Dismiss ; and REPLY in Support of 7 Motion to Dismiss filed by United
                  States Conference of Catholic Bishops. Replies due by 3/16/2020. (Taylor, Robert)
                  [Transferred from Rhode Island on 5/21/2020.] (Entered: 03/09/2020)
03/16/2020   10   REPLY to Response re 9 Response to Motion, transfer venue filed by David
                  O'Connell. (Wasylyk, Peter) [Transferred from Rhode Island on 5/21/2020.] (Entered:
                  03/16/2020)
05/21/2020        TEXT ORDER denying as moot 7 Motion to Dismiss for Lack of Jurisdiction; granting
                  8 Motion to Transfer Case: The Court GRANTS 8 Plaintiff's Cross−Motion to Transfer
                  Venue, transferring the case to the United States District Court for the District of
                  Columbia. Defendant's 7 Motion to Dismiss is hereby DENIED AS MOOT. So
                  Ordered by District Judge William E. Smith on 5/21/2020. (Jackson, Ryan)
                  [Transferred from Rhode Island on 5/21/2020.] (Entered: 05/21/2020)
05/21/2020   11   Case transferred in from District of Rhode Island; Case Number 1:20−cv−00031.
                  Original file certified copy of transfer order and docket sheet received. (Entered:
                  05/21/2020)
06/02/2020   12   NOTICE of Appearance by Kevin Taylor Baine on behalf of UNITED STATES
                  CONFERENCE OF CATHOLIC BISHOPS (Baine, Kevin) (Entered: 06/02/2020)
06/02/2020   13


                                                                                                         3
     Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 4 of 11



                  LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                  Interests by UNITED STATES CONFERENCE OF CATHOLIC BISHOPS (Baine,
                  Kevin) (Entered: 06/02/2020)
06/02/2020   14   Consent MOTION for Extension of Time to File Answer by UNITED STATES
                  CONFERENCE OF CATHOLIC BISHOPS (Attachments: # 1 Proposed Order)(Baine,
                  Kevin) Modified docket text at the request of counsel on 6/3/2020 (eg). (Entered:
                  06/02/2020)
06/10/2020        MINUTE ORDER granting 14 Motion for Extension of Time to Answer. It is hereby
                  ORDERED that Defendant shall answer or otherwise respond to the complaint on or
                  before 7/6/2020. Signed by Judge Ketanji Brown Jackson on 6/10/2020. (jag) (Entered:
                  06/10/2020)
06/15/2020   15   NOTICE of Appearance by Marc R Stanley on behalf of All Plaintiffs (Stanley, Marc)
                  (Entered: 06/15/2020)
06/15/2020   16   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Martin Woodward,
                  Filing fee $ 100, receipt number ADCDC−7229825. Fee Status: Fee Paid. by DAVID
                  O'CONNELL (Attachments: # 1 Declaration Declaration of Martin Woodward in
                  support of motion for admission pro hac vice, # 2 Text of Proposed Order proposed
                  Order granting motion for admission of attorney pro hac vice)(Stanley, Marc) (Entered:
                  06/15/2020)
06/29/2020        MINUTE ORDER granting 16 Motion for Leave to Appear Pro Hac Vice. It is hereby
                  ORDERED that Martin Woodward is admitted pro hac vice in the matter as counsel for
                  Plaintiff. Counsel should register for e−filing via PACER and file a notice of
                  appearance pursuant to LCvR 83.6(a). Click for instructions. Signed by Judge
                  Ketanji Brown Jackson on 6/29/2020. (jag) Modified event title on 7/1/2020 (znmw).
                  (Entered: 06/29/2020)
06/30/2020   17   NOTICE of Appearance by Martin Woodward on behalf of DAVID O'CONNELL
                  (Woodward, Martin) (Entered: 06/30/2020)
07/02/2020   18   Consent MOTION for Extension of Time to to File Motion for Class Certification by
                  DAVID O'CONNELL (Attachments: # 1 Text of Proposed Order)(Stanley, Marc)
                  (Entered: 07/02/2020)
07/06/2020   19   GENERAL ORDER AND GUIDELINES FOR CIVIL CASES BEFORE JUDGE
                  KETANJI BROWN JACKSON. The Court will hold the parties and counsel
                  responsible for following these directives, and parties and counsel should pay particular
                  attention to the Court's instructions for briefing motions and filing exhibits. Failure to
                  adhere to this Order may, when appropriate, result the imposition of sanctions and/or
                  sua sponte denial of non−conforming motions. Signed by Judge Ketanji Brown
                  Jackson on 7/6/2020. (jag) (Entered: 07/06/2020)
07/06/2020   20   ANSWER to 1 Complaint by UNITED STATES CONFERENCE OF CATHOLIC
                  BISHOPS.(Baine, Kevin) (Entered: 07/06/2020)
07/09/2020   21   ORDER setting Initial Scheduling Conference for 9/17/2020 at 10:00 AM in
                  Courtroom 17 before Judge Ketanji Brown Jackson. Signed by Judge Ketanji Brown
                  Jackson on 7/9/2020. (jag) (Entered: 07/09/2020)
07/09/2020        MINUTE ORDER granting 18 Motion for Extension of Time to File Motion for Class
                  Certification. It is hereby ORDERED that Plaintiff's deadline to file a motion for class
                  certification is STAYED until further Order of this Court. The Court will address the

                                                                                                               4
     Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 5 of 11



                  issue of briefing class certification at the upcoming Initial Scheduling Conference.
                  Signed by Judge Ketanji Brown Jackson on 7/9/2020. (jag) (Entered: 07/09/2020)
07/10/2020   22   MOTION to Dismiss for Lack of Jurisdiction , MOTION for Judgment on the
                  Pleadings or, in the alternative, MOTION for Summary Judgment by UNITED
                  STATES CONFERENCE OF CATHOLIC BISHOPS (Attachments: # 1 Memorandum
                  in Support of Defendant's Motion, # 2 Statement of Facts, # 3 Declaration of Mary
                  Mencarini Campbell, # 4 Text of Proposed Order)(Baine, Kevin) (Entered: 07/10/2020)
07/10/2020        MINUTE ORDER. In light of the filing of Defendant's 22 Motion to Dismiss for Lack
                  of Subject Matter Jurisdiction, for Judgment on the Pleadings or, in the Alternative, for
                  Summary Judgment, it is hereby ORDERED that the Initial Scheduling Conference
                  currently set for 9/17/2020 is VACATED. It is FURTHER ORDERED that Plaintiff
                  shall file his response to the 22 Motion on or before 7/24/2020, and Defendant shall file
                  any reply on or before 7/31/2020. Signed by Judge Ketanji Brown Jackson on
                  7/10/2020. (jag) (Entered: 07/10/2020)
07/21/2020   23   Consent MOTION for Extension of Time to File Response/Reply as to 22 MOTION to
                  Dismiss for Lack of Jurisdiction MOTION for Judgment on the Pleadings or, in the
                  alternative MOTION for Summary Judgment by DAVID O'CONNELL (Attachments:
                  # 1 Text of Proposed Order)(Woodward, Martin) (Entered: 07/21/2020)
07/23/2020        MINUTE ORDER granting, for good cause shown, 23 Consent Motion for Extension
                  of Time to File Response and Reply re 22 Motion to Dismiss for Lack of Jurisdiction,
                  Motion for Judgment on the Pleadings or, in the Motion for Summary Judgment. It is
                  hereby ORDERED that Plaintiff's response re 22 is due on or before 8/7/2020, and
                  Defendant's reply is due on or before 8/21/2020. Signed by Judge Ketanji Brown
                  Jackson on 7/23/2020. (jag) (Entered: 07/23/2020)
08/07/2020   24   Memorandum in opposition to re 22 MOTION to Dismiss for Lack of Jurisdiction
                  MOTION for Judgment on the Pleadings or, in the alternative MOTION for Summary
                  Judgment filed by DAVID O'CONNELL. (Attachments: # 1 Statement of Facts, # 2
                  Text of Proposed Order)(Woodward, Martin) (Entered: 08/07/2020)
08/21/2020   25   REPLY to opposition to motion re 22 MOTION to Dismiss for Lack of Jurisdiction
                  MOTION for Judgment on the Pleadings or, in the alternative MOTION for Summary
                  Judgment filed by UNITED STATES CONFERENCE OF CATHOLIC BISHOPS.
                  (Baine, Kevin) (Entered: 08/21/2020)
10/09/2020        MINUTE ORDER. It is hereby ORDERED that a motion hearing on Defendant's 22
                  Motion to Dismiss for Lack of Jurisdiction, for Judgment on the Pleadings or, in the
                  alternative, for Summary Judgment is set for 1/28/2021 at 02:30 PM before Judge
                  Ketanji Brown Jackson. Signed by Judge Ketanji Brown Jackson on 10/09/2020.
                  (lckbj2) (Entered: 10/09/2020)
12/30/2020   26   NOTICE of Appearance by Emmet T. Flood on behalf of UNITED STATES
                  CONFERENCE OF CATHOLIC BISHOPS (Flood, Emmet) (Entered: 12/30/2020)
01/25/2021   27   NOTICE of Appearance by Richard Simon Cleary, Jr on behalf of UNITED STATES
                  CONFERENCE OF CATHOLIC BISHOPS (Cleary, Richard) (Entered: 01/25/2021)
01/27/2021        MINUTE ORDER. It is hereby ORDERED that the VTC Motion Hearing currently set
                  for 1/28/2021 at 2:30 PM is VACATED and RESET for 1/28/2021 at 01:30 PM before
                  Judge Ketanji Brown Jackson. Signed by Judge Ketanji Brown Jackson on 1/27/2021.
                  (jag) (Entered: 01/27/2021)


                                                                                                              5
     Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 6 of 11



01/28/2021        Minute Entry for video proceedings held before Judge Ketanji Brown Jackson: Motion
                  Hearing held on 1/28/2021 re 22 MOTION to Dismiss for Lack of Jurisdiction
                  MOTION for Judgment on the Pleadings or, in the alternative MOTION for Summary
                  Judgment. Oral argument heard and motion taken under advisement. (Court Reporter
                  Nancy Meyer) (zgdf) (Entered: 02/01/2021)
02/03/2021   28   TRANSCRIPT OF PROCEEDINGS before Judge Ketanji Brown Jackson held on
                  01/28/2021. Page Numbers: 1−82. Date of Issuance: 02/01/2021. Court Reporter:
                  Nancy J. Meyer. Telephone Number: 202−354−3118. Tape Number: N/A. Transcripts
                  may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have 21days to file
                  with the court and the court reporter any request to redact personal identifiers from this
                  transcript. If no such requests are filed, the transcript will be made available to the
                  public via PACER without redaction after 90 days. The policy, which includes the five
                  personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 2/24/2021. Redacted Transcript Deadline set for 3/6/2021.
                  Release of Transcript Restriction set for 5/4/2021.(Meyer, Nancy) (Entered:
                  02/03/2021)
06/22/2021        Judge Ketanji Brown Jackson has been elevated to serve on the U.S. Court of Appeals
                  for the D.C. Circuit. She is therefore no longer assigned to this case, and this matter has
                  been reassigned to the Calendar Committee, which will oversee it until it is assigned to
                  another district judge. Any questions should be directed to Judge Jackson's former
                  deputy clerk, Gwendolyn Franklin, at 202−354−3145 or
                  gwen_franklin@dcd.uscourts.gov. (rj) (Entered: 06/22/2021)
11/15/2021        Case directly reassigned to Judge Jia M. Cobb. Judge Ketanji Brown Jackson has been
                  appointed to the D.C. Circuit and is no longer assigned to the case. (rj) (Entered:
                  11/15/2021)
05/06/2022   29   NOTICE of Change of Address by Richard Simon Cleary, Jr (Cleary, Richard)
                  (Entered: 05/06/2022)
07/14/2022   30   NOTICE of Appearance by Yvette Golan on behalf of All Plaintiffs (Golan, Yvette)
                  (Main Document 30 replaced on 7/14/2022) (zjf). (Main Document 30 replaced on
                  7/14/2022) (zjf). (Entered: 07/14/2022)
07/14/2022   31   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jonas Jacobson, Filing
                  fee $ 100, receipt number ADCDC−9369484. Fee Status: Fee Paid. by DAVID
                  O'CONNELL. (Attachments: # 1 Declaration Jacobson, # 2 Exhibit Certificate Good
                  Standing, # 3 Text of Proposed Order)(Golan, Yvette) (Entered: 07/14/2022)
07/14/2022   32   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Simon Franzini, Filing
                  fee $ 100, receipt number ADCDC−9369520. Fee Status: Fee Paid. by DAVID
                  O'CONNELL. (Attachments: # 1 Declaration Franzini, # 2 Exhibit Certificate, # 3 Text
                  of Proposed Order)(Golan, Yvette) (Entered: 07/14/2022)


                                                                                                                6
     Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 7 of 11



07/14/2022   33   NOTICE of Change of Address by Martin Woodward (Woodward, Martin) (Entered:
                  07/14/2022)
07/18/2022        MINUTE ORDER granting 31 Motion for Admission Pro Hac Vice of Jonas Jacobson:
                  Attorney Jonas Jacobson is hereby admitted pro hac vice to appear in this matter.
                  Counsel should register for e−filing via PACER and file a notice of appearance
                  pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Jia M. Cobb on
                  July 18, 2022. (lcjmc1) (Entered: 07/18/2022)
07/18/2022        MINUTE ORDER granting 32 Motion for Admission Pro Hac Vice of Simon Franzini:
                  Attorney Simon Franzini is hereby admitted pro hac vice to appear in this matter.
                  Counsel should register for e−filing via PACER and file a notice of appearance
                  pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Jia M. Cobb on
                  July 18, 2022.(lcjmc1) (Entered: 07/18/2022)
07/18/2022   34   NOTICE of Appearance by Simon Carlo Franzini on behalf of DAVID O'CONNELL
                  (Franzini, Simon) (Entered: 07/18/2022)
07/18/2022   35   NOTICE of Appearance by Jonas Bram Jacobson on behalf of DAVID O'CONNELL
                  (Jacobson, Jonas) (Entered: 07/18/2022)
07/28/2022   36   Unopposed MOTION for Telephone Conference Status Conference by DAVID
                  O'CONNELL. (Attachments: # 1 Text of Proposed Order)(Franzini, Simon) (Entered:
                  07/28/2022)
07/28/2022        MINUTE ORDER granting 36 Plaintiff's Unopposed Motion for Status Conference:
                  This unopposed motion for a status conference is granted. The Court directs the Parties
                  to appear for a status conference on August 9, 2022, at 1130AM. The status conference
                  will be on the record and conducted via telephone. The Court's Deputy Clerk will
                  provide the information necessary to access the call. Signed by Judge Jia M. Cobb on
                  July 28, 2022. (lcjmc1) (Entered: 07/28/2022)
08/09/2022        Minute Entry for telephonic proceeding held before Judge Jia M. Cobb: Status
                  Conference held on 8/9/2022, to update the parties on the status of the case. (Court
                  Reporter Lisa Bankins) (zgdf) (Entered: 08/17/2022)
03/21/2023   37   Unopposed MOTION for Telephone Conference Status Conference by DAVID
                  O'CONNELL. (Attachments: # 1 Text of Proposed Order)(Franzini, Simon) (Entered:
                  03/21/2023)
06/09/2023        MINUTE ORDER granting 37 Plaintiff's Unopposed Motion for Telephone
                  Conference: Upon consideration of the Motion, it is hereby ORDERED that the Motion
                  is GRANTED. The Court directs the Parties to appear for a status conference on July
                  18, 2023, at 11:00 AM. The status conference will be on the record and conducted via
                  telephone. The Court's Deputy Clerk will provide the information necessary to access
                  the conference. Signed by Judge Jia M. Cobb on June 9, 2023. (lcjmc2) (Entered:
                  06/09/2023)
07/18/2023        Minute Entry for Status Conference proceeding held on 7/18/2023 before Judge Jia M.
                  Cobb. Parties were informed a ruling on the pending motion is forthcoming via
                  Chambers. (Court Reporter Stacy Johns) (zed) (Entered: 07/18/2023)
10/16/2023   38   NOTICE (Letter from counsel) by DAVID O'CONNELL (Woodward, Martin)
                  (Entered: 10/16/2023)
11/06/2023


                                                                                                            7
     Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 8 of 11



                  MINUTE ORDER: The Court hereby ORDERS the Parties to appear for a video status
                  conference, during which the Court shall issue its ruling on the pending 22 motion to
                  dismiss, on November 17, 2023 at 2:30 PM. This hearing shall be on the record before
                  Judge Jia M. Cobb and conducted via Zoom. The Court's Deputy Clerk will provide the
                  information necessary to access the call. Signed by Judge Jia M. Cobb on November 6,
                  2023. (lcjmc2) (Entered: 11/06/2023)
11/17/2023        Minute Entry for proceedings held before Judge Jia M. Cobb: Motion Hearing held on
                  11/17/2023. For the reasons stated on record, Oral ruling denying 22 MOTION to
                  Dismiss for Lack of Jurisdiction and MOTION for Judgment on the Pleadings, and
                  denying without prejudice the MOTION for Summary Judgment. Parties are to confer
                  and file a joint scheduling report. Order forthcoming via Chambers. (Court Reporter
                  Bryan Wayne) (zgf) (Entered: 11/17/2023)
11/17/2023        MINUTE ORDER denying 22 Motion to Dismiss: For the reasons stated on the record
                  in the hearing held today, the Court DENIES Defendants' 22 Motion to Dismiss for
                  Lack of Jurisdiction and Motion for Judgment on the Pleadings, and DENIES without
                  prejudice Defendants' Motion for Summary Judgment. Signed by Judge Jia M. Cobb
                  on November 17, 2023. (lcjmc2) (Entered: 11/17/2023)
11/19/2023   39   TRANSCRIPT OF 11/17/23 STATUS HEARING before Judge Jia M. Cobb held on
                  November 17, 2023; Page Numbers: 1−20. Date of Issuance: 11/19/2023. Court
                  Reporter: Bryan A. Wayne. Transcripts may be ordered by submitting the Transcript
                  Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 12/10/2023. Redacted Transcript Deadline set for 12/20/2023.
                  Release of Transcript Restriction set for 2/17/2024.(Wayne, Bryan) (Entered:
                  11/19/2023)
11/28/2023        MINUTE ORDER setting Initial Scheduling Conference: The Court hereby ORDERS
                  the Parties to appear for a scheduling conference on January 10, 2024 at 10:00 AM.
                  This conference will be on the record before Judge Jia M. Cobb and conducted via
                  video. The Court's Deputy Clerk will provide the information necessary to access the
                  conference. It is further ORDERED that the Parties shall file a joint report pursuant to
                  Local Civil Rule 16.3(d) and Federal Rule of Civil Procedure 26(f) by January 3, 2024.
                  Signed by Judge Jia M. Cobb on November 28, 2023. (lcjmc2) (Entered: 11/28/2023)
12/18/2023   40   NOTICE OF APPEAL TO DC CIRCUIT COURT as to Order on Motion to
                  Dismiss/Lack of Jurisdiction,, Order on Motion for Judgment on the Pleadings,, Order
                  on Motion for Summary Judgment, by UNITED STATES CONFERENCE OF
                  CATHOLIC BISHOPS. Filing fee $ 605, receipt number ADCDC−10567032. Fee


                                                                                                                 8
Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 9 of 11



         Status: Fee Paid. Parties have been notified. (Flood, Emmet) (Entered: 12/18/2023)




                                                                                              9
        Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 10 of 11




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 DAVID O’CONNELL, individually and on
 behalf of all others similarly situated,

                Plaintiff,
                                                         Case No. 1:20-cv-01365-JMC
         v.

 UNITED STATES CONFERENCE OF
 CATHOLIC BISHOPS,

                Defendant.



                                    NOTICE OF APPEAL

       Notice is officially given that defendant is appealing to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s minute order entered on the

docket November 17, 2023, denying defendant’s motion to dismiss for lack of subject matter

jurisdiction and motion for judgment on the pleadings.


                                                     Respectfully submitted,

                                                     By: /s/ Emmet T. Flood
                                                     Emmet T. Flood (D.C. Bar #448110)
                                                     Kevin T. Baine (D.C. Bar #238600)

                                                     WILLIAMS & CONNOLLY LLP
                                                     725 Twelfth Street, N.W.
                                                     Washington, DC 20005
                                                     Tel.: (202) 434-5000
                                                     Fax: (202) 434-5029
                                                     kbaine@wc.com
                                                     eflood@wc.com

Dated: December 18, 2023




                                                1


                                                                                              10
        Case 1:20-cv-01365-JMC Document 41 Filed 12/19/23 Page 11 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 18, 2023, I caused a true and correct copy of the

foregoing to be served on all counsel of record via the Court’s electronic filing system.


Dated: December 18, 2023                             By: /s/ Emmet T. Flood




                                                 2


                                                                                             11
